 Case 3:19-cv-02979-N-BK Document 28 Filed 05/08/20               Page 1 of 1 PageID 108



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ALEXANDER WILLIAMS,                             §
 #19042243,                                     §
              Petitioner,                       §
                                                §
v.                                              § Civil Case No. 3:19-CV-2979-N-BK
                                                §
MARIAN BROWN,                                   §
                       Respondent.              §



                                           JUDGMENT

       The Court has entered its Order Accepting the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge in this case. It is therefore ORDERED,

ADJUDGED AND DECREED that this case is DISMISSED WITHOUT PREJUDICE for

failure to exhaust state court remedies.

       The Clerk of the Court is directed to close this case.

       SIGNED this 8th day of May, 2020.




                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE
